 

US. DISTRICT COURT
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Case 3:20-cr-00258-S Document 83 Filed 09/30/21 Page } of 1 PagaIDRDB _
United States District Court SEP 3.0 202

FOR THE NORTHERN DISTRICT OF TEXAS

 

     

 

 

 

DALLAS DIVISION CLERK. COURT
UNITED STATES OF AMERICA § *
v. CRIMINAL ACTION NO. 3:20-CR-00258-S
KYLE SHAW (3) :

REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

KYLE SHAW (3), by consent, under authority of United States v. Dees, 125 F.3d 261 (Sth Cir. 1997), has appeared
before me pursuant to FED. R. CRIM. P. 11, and has entered a plea of guilty to Count One of the Superseding Information.
After cautioning and examining KYLE SHAW (3) under oath concerning each of the subjects mentioned in Rule 11, I
determined that the guilty plea was knowledgeable and voluntary and that the offense charged is supported by an
independent basis in fact containing each of the essential elements of such offense. I therefore recommend that the plea of
guilty be accepted, and that KYLE SHAW (3) be adjudged guilty of 21 U.S.C. § 846, Conspiracy to Possess with Intent
to Distribute a Schedule II Controlled Substance, and have sentence imposed accordingly. After being found guilty of
the offense by the District Judge:

CO The Defendant is currently in custody and should be ordered to remain in custody.

Oo The Defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(1) unless the Court finds by clear and
convincing evidence that the Defendant is not likely to flee or pose a danger to any other person or the community

if released.

0 The Government does not oppose release.

O The Defendant has been compliant with the current conditions of release.

Oo I find by clear and convincing evidence that the Defendant is not likely to flee or pose a danger to any other

person or the community if released and should therefore be released under 18 U.S.C. § 3142(b) or (c).

O The Government opposes release.
O The Defendant has not been compliant with the conditions of release.
O

If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
Government.

w/ The Defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless: (1)(a) the Court finds there is
a substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly shown
under § 3145(c) why the Defendant should not be detained; and (2) the Court finds by clear and convincing evidence
that the Defendant is not likely to flee or pose a danger to any other person or the community if released.

“UNITED STATES MAGISTRATE

SIGNED September 30, 2021.

NOTICE
Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date of its

service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United States
District Judge. 28 U.S.C. §636(b)(1)(B).

 
